 1   Constantine P. Economides (pro hac vice forthcoming)
     (Florida Bar No. 118177)
 2   Brianna K. Pierce (CA Bar No. 336906)
     ROCHE FREEDMAN LLP
 3   1 SE 3rd Avenue, Suite 1240
     Miami, FL 33131
 4   Tel: (305) 851-5997
     Email: ceconomides@rochefreedman.com
 5           bpierce@rochefreedman.com
 6   Counsel for Defendants
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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11
12   YUTING CHEN,                                    Case No. 21-cv-09393-YGR
13                            Plaintiff,             ANSWER
14           v.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
15                                                   Place: Courtroom 1, 4th Floor
                                                     Filed: December 3, 2021
16   ARIEL ABITTAN, ABRAHAM ABITTAN,
     RACHEL ABITTAN, BRIAN ABITTAN,                  JURY TRIAL DEMANDED
17   JACOB ABITTAN, ALYSSA ABITTAN,
     ELIANA ABITTAN, ROY GRABER, TOVA
18   GRABER, REALTIME NY LLC, a New York
     Limited Liability Company, and DOES 1-20,
19   inclusive
20                            Defendants.
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     DEFENDANTS’ ANSWER                                            CASE NO. 21-CV-09393-YGR
 1          Defendants Ariel Abittan, Abraham Abittan, Rachel Abittan, Brian Abittan, Jacob Abittan,
 2   Alyssa Abittan, Eliana Abittan, Roy Graber, Tova Graber, and Realtime NY LLC (collectively,
 3   “Defendants”) hereby answer the Complaint of Plaintiff Yuting Chen (“Plaintiff”), as follows.
 4   Defendants preserve and do not waive the rights and defenses under Rules 12(b)(2), 12(b)(3),
 5   12(b)(6), and 12(b)(7). Defendants do not consent to personal jurisdiction.
 6                                      NATURE OF THE CASE
 7          1.      Defendants lack knowledge or information sufficient to form a belief about the truth
 8   of the allegations contained in paragraph 1 of the Complaint, and denies them on that ground.
 9          2.      Defendants deny the allegations contained in paragraph 2 of the Complaint.
10          3.      Defendants deny the allegations contained in paragraph 3 of the Complaint.
11          4.      Defendants deny the allegations contained in paragraph 4 of the Complaint.
12          5.      Defendants deny the allegations contained in paragraph 5 of the Complaint.
13                                            THE PARTIES
14          6.      Defendants lack knowledge or information sufficient to form a belief about the truth
15   of the allegations contained in paragraph 6 of the Complaint, and denies them on that ground.
16          7.      Defendants admit the allegation contained in paragraph 7 of the Complaint.
17          8.      Defendants admit the allegation contained in paragraph 8 of the Complaint.

18          9.      Defendants admit the allegation contained in paragraph 9 of the Complaint.
19          10.     Defendants admit the allegation contained in paragraph 10 of the Complaint.

20          11.     Defendants admit the allegation contained in paragraph 11 of the Complaint.
21          12.     Defendants admit the allegation contained in paragraph 12 of the Complaint.
22          13.     Defendants admit the allegation contained in paragraph 13 of the Complaint.
23          14.     Defendants admit the allegation contained in paragraph 14 of the Complaint.
24          15.     Defendants admit the allegation contained in paragraph 15 of the Complaint.
25          16.     Defendants admit the allegation contained in paragraph16 of the Complaint.
26          17.     Defendants lack knowledge or information sufficient to form a belief about the truth
27   of the allegations contained in paragraph 17 of the Complaint, and denies them on that ground.
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     DEFENDANTS’ ANSWER                                                  CASE NO. 21-CV-09393-YGR
 1          18.    Defendants lack knowledge or information sufficient to form a belief about the truth
 2   of the allegations contained in paragraph 18 of the Complaint, and denies them on that ground.
 3                                   JURISDICTION AND VENUE
 4          19.    Defendants lack knowledge or information sufficient to form a belief about the truth
 5   of the allegations contained in paragraph 19 of the Complaint, and denies them on that ground.
 6          20.    Defendants deny the allegations contained in paragraph 20 of the Complaint.
 7          21.    Defendants lack knowledge or information sufficient to form a belief about the truth
 8   of the allegations contained in paragraph 21 of the Complaint, and denies them on that ground.
 9                                   DIVISIONAL ASSIGNMENT
10          22.    Defendants lack knowledge or information sufficient to form a belief about the truth
11   of the allegations contained in paragraph 22 of the Complaint, and denies them on that ground.
12                                    FACTUAL ALLEGATIONS
13          23.    Defendants lack knowledge or information sufficient to form a belief about the truth
14   of the allegations contained in paragraph 23 of the Complaint, and denies them on that ground.
15          24.    Defendants lack knowledge or information sufficient to form a belief about the truth
16   of the allegations contained in paragraph 24 of the Complaint, and denies them on that ground.
17          25.    Defendants lack knowledge or information sufficient to form a belief about the truth

18   of the allegations contained in paragraph 25 of the Complaint, and denies them on that ground.
19          26.    Defendants lack knowledge or information sufficient to form a belief about the truth

20   of the allegations contained in paragraph 26 of the Complaint, and denies them on that ground.
21          27.    Defendants lack knowledge or information sufficient to form a belief about the truth
22   of the allegations contained in paragraph 27 of the Complaint, and denies them on that ground.
23          28.    Defendants deny the allegations contained in paragraph 28 of the Complaint.
24          29.    Defendants lack knowledge or information sufficient to form a belief about the truth
25   of the allegations contained in paragraph 29 of the Complaint, and denies them on that ground.
26          30.    Defendants lack knowledge or information sufficient to form a belief about the truth
27   of the allegations contained in paragraph 30 of the Complaint, and denies them on that ground.
28          31.  Defendants deny the allegations contained in paragraph 31 of the Complaint.
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     DEFENDANTS’ ANSWER                                              CASE NO. 21-CV-09393-YGR
 1          32.    Defendants lack knowledge or information sufficient to form a belief about the truth
 2   of the allegations contained in paragraph 32 of the Complaint, and denies them on that ground.
 3          33.    Defendants deny the allegations contained in paragraph 33 of the Complaint.
 4          34.    Defendants deny the allegations contained in paragraph 34 of the Complaint.
 5          35.    Defendants deny the allegations contained in paragraph 35 of the Complaint.
 6          36.    Defendants deny the allegations contained in paragraph 36 of the Complaint.
 7          37.    Defendants admit that Defendant Abraham Abittan is a dermatologist. Defendants
 8   lack knowledge or information sufficient to form a belief about the truth of the remaining
 9   allegations contained in paragraph 37 of the Complaint, and denies them on that ground.
10          38.    Defendants lack knowledge or information sufficient to form a belief about the truth
11   of the allegations contained in paragraph 38 of the Complaint, and denies them on that ground.
12          39.    Defendants lack knowledge or information sufficient to form a belief about the truth
13   of the allegations contained in paragraph 39 of the Complaint, and denies them on that ground.
14          40.    Defendants deny the allegations contained in paragraph 40 of the Complaint.
15          41.    Defendants deny the allegations contained in paragraph 41 of the Complaint.
16          42.    Defendants deny the allegations contained in paragraph 42 of the Complaint.
17          43.    Defendants lack knowledge or information sufficient to form a belief about the truth

18   of the allegations contained in paragraph 43 of the Complaint, and denies them on that ground.
19          44.    Defendants lack knowledge or information sufficient to form a belief about the truth

20   of the allegations contained in paragraph 44 of the Complaint, and denies them on that ground.
21          45.    Defendants lack knowledge or information sufficient to form a belief about the truth
22   of the allegations contained in paragraph 45 of the Complaint, and denies them on that ground.
23          46.    Defendants lack knowledge or information sufficient to form a belief about the truth
24   of the allegations contained in paragraph 46 of the Complaint, and denies them on that ground.
25          47.    Defendants deny the allegations contained in paragraph 47 of the Complaint.
26          48.    Defendants deny the allegations contained in paragraph 48 of the Complaint.
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     DEFENDANTS’ ANSWER                                                 CASE NO. 21-CV-09393-YGR
 1          49.     Defendants admit that Ariel Abittan created and controls Realtime NY LLC and that
 2   Ariel Abittan sent and received funds relating to a watch business from a bank account in its name.
 3   Defendants deny the remaining allegations contained in paragraph 49 of the Complaint.
 4          50.     Defendants admit that Ariel Abittan bought and sold highly sought after watches
 5   worth millions of dollars. Defendants deny the remaining allegations contained in paragraph 50.
 6          51.     Defendants deny that Ariel Abittan ever took possession of a watch without paying
 7   his full share of the cost of that watch. Defendants lack knowledge or information sufficient to form
 8   a belief about the truth of the remaining allegations contained in paragraph 51 of the Complaint,
 9   and denies them on that ground.
10          52.     Defendants deny the allegations contained in paragraph 52 of the Complaint.
11          53.     Defendants deny the allegations contained in paragraph 53 of the Complaint.
12          54.     Defendants deny the allegations contained in paragraph 54 of the Complaint.
13          55.     Defendants deny the allegations contained in paragraph 55 of the Complaint.
14          56.     Defendants deny the allegations contained in paragraph 56 of the Complaint.
15          57.     Defendants deny the allegations contained in paragraph 57 of the Complaint.
16          58.     Defendants deny the allegations contained in paragraph 58 of the Complaint, and
17   denies them on that ground.

18          59.     Defendants deny the allegations contained in paragraph 59 of the Complaint, and
19   denies them on that ground.

20          60.     Defendants admit that Abraham and Rachel Abittan flew to California in or around
21   late 2019. Defendants deny that Abraham and Rachel Abittan promised any person that they would
22   repay payments made toward debt incurred on credit cards in Ariel Abittan’s name. Defendants
23   lack knowledge or information sufficient to form a belief about the truth of the remaining
24   allegations contained in paragraph 60 of the Complaint, and denies them on that ground.
25          61.     Defendants lack knowledge or information sufficient to form a belief about the truth
26   of the allegations contained in paragraph 61 of the Complaint, and denies them on that ground.
27          62.     Defendants lack knowledge or information sufficient to form a belief about the truth
28   of the allegations contained in paragraph 62 of the Complaint, and denies them on that ground.
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     DEFENDANTS’ ANSWER                                                  CASE NO. 21-CV-09393-YGR
 1          63.     Defendants deny the remaining allegations contained in paragraph 63 of the
 2   Complaint, and denies them on that ground.
 3          64.     Defendants lack knowledge or information sufficient to form a belief about the truth
 4   of the allegations contained in paragraph 64 of the Complaint, and denies them on that ground.
 5          65.     Defendants lack knowledge or information sufficient to form a belief about the truth
 6   of the allegations contained in paragraph 65 of the Complaint, and denies them on that ground.
 7          66.     Defendants admit that Yuting Chen was named in a lawsuit filed by Ariel Abittan
 8   on December 24, 2020. Defendants lack knowledge or information sufficient to form a belief about
 9   the truth of the remaining allegations contained in paragraph 66 of the Complaint, and denies them
10   on that ground.
11          67.     Defendants lack knowledge or information sufficient to form a belief about the truth
12   of the allegations contained in paragraph 67 of the Complaint, and denies them on that ground.
13                                         CAUSES OF ACTION
14                                      FIRST CAUSE OF ACTION
15                                 Breach of Contract – Watch Business
16                                         (Against Ariel Abittan)
17          68.     Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 67

18   of the Complaint as if fully set forth in this Cause of Action.
19          69.     Defendants lack knowledge or information sufficient to form a belief about the truth

20   of the allegation contained in paragraph 69 of the Complaint relating to the identity of Ariel
21   Abittan’s business partner, and denies them on that ground. Defendants deny the remaining
22   allegations contained in paragraph 69 of the Complaint.
23          70.     Defendants deny the allegations contained in paragraph 70 of the Complaint.
24          71.     Defendants lack knowledge or information sufficient to form a belief about the truth
25   of the allegations contained in paragraph 71 of the Complaint, and denies them on that ground.
26          72.     Defendants deny the allegations contained in paragraph 72 of the Complaint, and
27   denies them on that ground.
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     DEFENDANTS’ ANSWER                                                  CASE NO. 21-CV-09393-YGR
 1                                    SECOND CAUSE OF ACTION
 2                         Breach of Contract – Payment of Credit Card Debt
 3                                         (Against Ariel Abittan)
 4          73.     Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 72
 5   of the Complaint as if fully set forth in this Cause of Action.
 6          74.     Defendants deny the allegations contained in paragraph 74 of the Complaint.
 7          75.     Defendants deny the allegations contained in paragraph 75 of the Complaint.
 8          76.     Defendants deny the allegations contained in paragraph 76 of the Complaint.
 9          77.     Defendants deny the allegations contained in paragraph 77 of the Complaint.
10          78.     Defendants deny the allegations contained in paragraph 78 of the Complaint.
11                                     THIRD CAUSE OF ACTION
12                                           Breach of Fiduciary
13                                         (Against Ariel Abittan)
14          79.     Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 78
15   of the Complaint as if fully set forth in this Cause of Action.
16          80.     Defendants deny the allegations contained in paragraph 80 of the Complaint.
17          81.     Defendants deny the allegations contained in paragraph 81 of the Complaint.

18          82.     Defendants deny the allegations contained in paragraph 82 of the Complaint.
19          83.     Defendants deny the allegations contained in paragraph 83 of the Complaint.

20                                    FOURTH CAUSE OF ACTION
21                            Aiding and Abetting Breach of Fiduciary Duty
22                             (Against the Co-Defendant Family Members)
23          84.     Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 83
24   of the Complaint as if fully set forth in this Cause of Action.
25          85.     Defendants deny the allegations contained in paragraph 85 of the Complaint.
26          86.     Defendants deny the allegations contained in paragraph 86 of the Complaint.
27          87.     Defendants deny the allegations contained in paragraph 87 of the Complaint.
28          88.  Defendants deny the allegations contained in paragraph 88 of the Complaint.
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     DEFENDANTS’ ANSWER                                              CASE NO. 21-CV-09393-YGR
 1          89.     Defendants deny the allegations contained in paragraph 89 of the Complaint.
 2                                     FIFTH CAUSE OF ACTION
 3                                                  Fraud
 4                                        (Against All Defendants)
 5          90.     Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 89
 6   of the Complaint as if fully set forth in this Cause of Action.
 7          91.     Defendants deny the allegations contained in paragraph 91 of the Complaint.
 8          92.     Defendants deny the allegations contained in paragraph 92 of the Complaint.
 9          93.     Defendants deny the allegations contained in paragraph 93 of the Complaint.
10          94.     Defendants deny the allegations contained in paragraph 94 of the Complaint.
11          95.     Defendants deny the allegations contained in paragraph 95 of the Complaint.
12          96.     Defendants deny the allegations contained in paragraph 96 of the Complaint.
13          97.     Defendants deny the allegations contained in paragraph 97 of the Complaint.
14          98.     Defendants deny the allegations contained in paragraph 98 of the Complaint.
15          99.     Defendants deny the allegations contained in paragraph 99 of the Complaint.
16                                     SIXTH CAUSE OF ACTION
17                                               Conversion

18                                         (Against Ariel Abittan)
19          100.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 99

20   of the Complaint as if fully set forth in this Cause of Action.
21          101.    Defendants deny the allegations contained in paragraph 101 of the Complaint.
22          102.    Defendants deny the allegations contained in paragraph 102 of the Complaint.
23          103.    Defendants deny the allegations contained in paragraph 103 of the Complaint.
24          104.    Defendants deny the allegations contained in paragraph 104 of the Complaint.
25                                   SEVENTH CAUSE OF ACTION
26                                           Unjust Enrichment
27                                        (Against All Defendants)
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     DEFENDANTS’ ANSWER                                                 CASE NO. 21-CV-09393-YGR
 1           105.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 104
 2   of the Complaint as if fully set forth in this Cause of Action.
 3           106.    Defendants deny the allegations contained in paragraph 106 of the Complaint.
 4           107.    Defendants deny the allegations contained in paragraph 107 of the Complaint.
 5           108.    Defendants deny the allegations contained in paragraph 108 of the Complaint.
 6           109.    Defendants deny the allegations contained in paragraph 109 of the Complaint.
 7                                     EIGHTH CAUSE OF ACTION
 8                                     Imposition of Constructive Trust
 9                                         (Against All Defendants)
10           110.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 109
11   of the Complaint as if fully set forth in this Cause of Action.
12           111.    Defendants deny the allegations contained in paragraph 111 of the Complaint.
13           112.    Defendants deny the allegations contained in paragraph 112 of the Complaint.
14           113.    Defendants deny the allegations contained in paragraph 113 of the Complaint.
15           114.    Defendants deny the allegations contained in paragraph 114 of the Complaint.
16                                      NINTH CAUSE OF ACTION
17                                             Declaratory Relief

18                                          (Against Ariel Abittan)
19           115.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 114

20   of the Complaint as if fully set forth in this Cause of Action.
21           116.    Defendants deny the allegations contained in paragraph 116 of the Complaint.
22           117.    Defendants deny the allegations contained in paragraph 117 of the Complaint.
23                                      TENTH CAUSE OF ACTION
24                                                 Accounting
25                                          (Against Ariel Abittan)
26           118.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 117
27   of the Complaint as if fully set forth in this.
28           119.Defendants deny the allegations contained in paragraph 119 of the Complaint.
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     DEFENDANTS’ ANSWER                                              CASE NO. 21-CV-09393-YGR
 1          120.    Defendants deny the allegations contained in paragraph 120 of the Complaint.
 2                                   ELEVENTH CAUSE OF ACTION
 3                              Intentional Infliction of Emotional Distress
 4                                         (Against All Defendants)
 5          121.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 120
 6   of the Complaint as if fully set forth in this Cause of Action.
 7          122.    Defendants deny the allegations contained in paragraph 122 of the Complaint.
 8          123.    Defendants deny the allegations contained in paragraph 123 of the Complaint.
 9          124.    Defendants deny the allegations contained in paragraph 124 of the Complaint.
10          125.    Defendants deny the allegations contained in paragraph 125 of the Complaint.
11          126.    Defendants deny the allegations contained in paragraph 126 of the Complaint.
12          127.    Defendants deny the allegations contained in paragraph 127 of the Complaint.
13                                   TWLEVTH CAUSE OF ACTION
14                                             Civil Conspiracy
15                                         (Against All Defendants)
16          128.    Defendants repeat, reallege, and incorporate its answers to paragraph 1 through 127
17   of the Complaint as if fully set forth in this Cause of Action.

18          129.    Defendants deny the allegations contained in paragraph 129 of the Complaint.
19          130.    Defendants deny the allegations contained in paragraph 130 of the Complaint.

20          131.    Defendants deny the allegations contained in paragraph 131 of the Complaint.
21          132.    Defendants deny the allegations contained in paragraph 132 of the Complaint.
22                               RESPONSE TO PRAYER FOR RELIEF
23          To the extent that any response is required from Defendants to Plaintiff’s prayer for relief,
24   Defendants deny that Plaintiff is entitled to any relief sought and denies the allegations supporting
25   any prayer for relief on behalf of Plaintiff.
26   //
27   //
28   //
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     DEFENDANTS’ ANSWER                                                   CASE NO. 21-CV-09393-YGR
 1                           DEFENSES AND AFFIRMATIVE DEFENSE
 2          In addition to the foregoing responses to Plaintiff’s Complaint, Defendants preserve, set
 3   forth, and do not waive the following separate and distinct defenses and affirmative defenses, as
 4   follows:
 5                                           FIRST DEFENSE
 6                                       (Failure to State a Claim)
 7          The Complaint, and each and every alleged cause of action set forth therein, fails to state
 8   facts sufficient to constitute a claim against each Defendant.
 9                                         SECOND DEFENSE
10                                    (Lack of Personal Jurisdiction)
11          Defendants allege that personal jurisdiction over Defendants is lacking. Defendants do not
12   consent to personal jurisdiction or waive any challenges to personal jurisdiction.
13                                          THIRD DEFENSE
14                                           (Improper Venue)
15          Defendants allege that venue is improper.
16                                         FOURTH DEFENSE
17                                 (Failure to Join Indispensable Party)

18          Defendants allege that Plaintiff has failed to name an indispensable party, including Lily
19   Chao (a/k/a Tiffany Chen, a/k/a Yuting Chen) and Tao Ding (a/k/a Damien Ding, a/k/a Damien

20   Leung).
21                                 FIRST AFFIRMATIVE DEFENSE
22                                           (Unclean Hands)
23          Plaintiff comes to this Court with unclean hands and is therefore barred from recovery.
24                                SECOND AFFIRMATIVE DEFENSE
25                                      (Inadequate Performance)
26          Plaintiff’s claims are barred by her inadequate performance.
27   //
28   //
                                                    - 11 -
     DEFENDANTS’ ANSWER                                                    CASE NO. 21-CV-09393-YGR
 1                                   THIRD AFFIRMATIVE DEFENSE
 2                                       (Estoppel, Waiver, Laches)
 3          Plaintiff’s claims are barred, in whole or in part by the equitable doctrines of estoppel,
 4   waiver, and laches by virtue of Plaintiff’s own acts or failures to act.
 5                                  FOURTH AFFIRMATIVE DEFENSE
 6                                          (Speculative Damages)
 7          The damages, if any, claimed by Plaintiff are wholly speculative and are not susceptible to
 8   determination.
 9                                   FIFTH AFFIRMATIVE DEFENSE
10                                        (Comparative Negligence)
11          Plaintiff was careless, negligent and/or culpable in and about the matter of which she
12   complained and failed to exercise reasonable and ordinary care, caution or prudence to protect her
13   interests. Such carelessness, negligence and culpable conduct proximately caused the damage, if
14   any, sustained by Plaintiff.
15                                   SIXTH AFFIRMATIVE DEFENSE
16                                        (Contributory Negligence)
17          Plaintiff was negligent in and about the matters alleged in the complaint and each alleged

18   cause of action therein. Such negligence proximately caused and contributed to, in whole or in part,
19   the incidences, losses, and damages alleged. In the event Plaintiff is awarded any damages, the

20   amount of such should be reduced by the comparative fault of Plaintiff and any person whose
21   negligent acts or omissions are imputed to Plaintiff.
22                                  SEVENTH AFFIRMATIVE DEFENSE
23                                            (Judicial Estoppel)
24          The Complaint, and each and every purported claim contained therein, is barred in whole
25   or in part by the doctrine of judicial estoppel.
26   //
27   //
28   //
                                                        - 12 -
     DEFENDANTS’ ANSWER                                                     CASE NO. 21-CV-09393-YGR
 1                                 EIGHTH AFFIRMATIVE DEFENSE
 2                                           (Offset/Recoupment)
 3           Defendants have suffered damages by reason of Plaintiff’s conduct and have the right to
 4   offset any amount owed to Plaintiff by way of damage.
 5                                  NINTH AFFIRMATIVE DEFENSE
 6                                           (Unjust Enrichment)
 7           Plaintiff would be unjustly enriched if allowed to recover on the Complaint.
 8                                  TENTH AFFIRMATIVE DEFENSE
 9                                           (Failure to Mitigate)
10           Plaintiffs have failed to mitigate their damages and, to the extent of such failure, any
11   damages awarded should be reduced accordingly.
12                               ELEVENTH AFFIRMATIVE DEFENSE
13                                (Equitable Relief – Adequate Remedies)
14           Plaintiff’s claims for equitable relief are barred because Plaintiff has an adequate and
15   complete remedy at law, and/or the equitable relief is neither necessary nor proper.
16                                TWELFTH AFFIRMATIVE DEFENSE
17                                                (Standing)

18           Plaintiff’s claims are barred in whole or in part by Plaintiff’s lack of standing.
19                             THIRTEENTH AFFIRMATIVE DEFENSE

20                                              (No Damages)
21           Plaintiff’s claims are barred because she has not suffered any damages as a result of
22   Defendants' alleged conduct.
23                             FOURTEENTH AFFIRMATIVE DEFENSE
24                                              (Performance)
25           Defendants appropriately, completely, and fully performed any and all obligations and legal
26   duties, if any, arising out of the matters alleged in the Complaint, thus precluding any recovery by
27   Plaintiff.
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     DEFENDANTS’ ANSWER                                                     CASE NO. 21-CV-09393-YGR
 1                              FIFTEENTH AFFIRMATIVE DEFENSE
 2                                                 (Fraud)
 3          Plaintiff’s claims are barred because plaintiff engaged in fraud against Defendants.
 4                              SIXTEENTH AFFIRMATIVE DEFENSE
 5                                              (Good Faith)
 6          Plaintiff’s claims fail, in whole or in part, because alleged actions, conduct, or practices of
 7   Defendants were reasonable, justified, in good faith, lacked malicious intent, and/or innocent.
 8                           SEVENTEENTH AFFIRMATIVE DEFENSE
 9                                           (Acts of Plaintiff)
10          Defendants allege that the Complaint, and each and every cause of action alleged therein,
11   is barred in that the damages suffered by Plaintiff, if any, were caused by her own acts.
12                            EIGHTEENTH AFFIRMATIVE DEFENSE
13                                        (Acts of Third Parties)
14          Defendants allege that the Complaint and each and every cause of action alleged therein, is
15   barred in that the damages suffered by Plaintiff, if any, were caused by the acts of third parties,
16   over whom Defendants exercise no control.
17   Dated: April 25, 2022                                   ROCHE FREEDMAN LLP

18                                                           /s/ Brianna K. Pierce
                                                             Brianna Pierce (CA Bar No. 336906)
19                                                           Constantine P. Economides (pro hac vice
                                                             forthcoming; Florida Bar No. 118177)
20                                                           1 SE Third Avenue, Suite 250
                                                             Miami, Florida 33131
21                                                           Tel: (305) 971-5943
                                                             Email: bpierce@rochefreedman.com
22                                                                   ceconomides@rcfllp.com
23                                                           Counsel for Defendants
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     DEFENDANTS’ ANSWER                                                    CASE NO. 21-CV-09393-YGR
 1                                   DEMAND FOR JURY TRIAL
 2          Defendants demand a trial by jury on all jury triable claims and issues in this action.
 3
 4   Dated: April 25, 2022                                   ROCHE FREEDMAN LLP
 5                                                           /s/ Brianna K. Pierce
                                                             Brianna Pierce (CA Bar No. 336906)
 6                                                           Constantine P. Economides (pro hac vice
                                                             forthcoming; Florida Bar No. 118177)
 7                                                           1 SE Third Avenue, Suite 250
                                                             Miami, Florida 33131
 8                                                           Tel: (305) 971-5943
                                                             Email: bpierce@rochefreedman.com
 9                                                                   ceconomides@rcfllp.com
10                                                           Counsel for Defendants
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     DEFENDANTS’ ANSWER                                                    CASE NO. 21-CV-09393-YGR
